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8
     Attorneys of Record for Plaintiff,
     Bryan Estrada
9

10                          UNITED STATES DISTRICT COURT
11                         CENTRAL DISTRICT OF CALIFORNIA
12
     Bryan Estrada,                                Case No. 5:21-cv-1523
13

14
                      Plaintiff,                   COMPLAINT
15

16                    v.
17
     Cesar's Market, Inc.; Aldib Property, Inc.;
18
     Kaisar Aldib and Does 1-10, inclusive,
19

20             Defendants.
21

22

23

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25

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28                                           -1-
                                           COMPLAINT
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1
     Plaintiff, Bryan Estrada, hereby complains and alleges as follows:

2

3                               NATURE OF THE ACTION
4                 1. This is an action seeking to remedy unlawful discrimination by
5    the Defendants against the Plaintiff in the Defendants’ places of public
6    accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
7
     12101, et seq.] (the “ADA”).
8

9
                                          PARTIES
10
                  2. Plaintiff, Bryan Estrada, is a paraplegic resident of the state of
11
     California who requires the use of a wheelchair for mobility purposes and who is
12
     therefore a “person with a disability” within the meaning of the ADA and
13

14
     Cal.Government Code § 12926.

15                3. The Defendants (defined below) discriminates against people with
16   mobility disabilities in the full and equal enjoyment of the goods, services,
17   facilities, privileges, advantages, or accommodations on the basis of their mobility
18   disability at the Subject Property (defined below) in violation of the ADA [42
19   U.S.C. §§ 12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
20                4. The Defendants’ failure to make reasonable modifications in
21
     policies, practices, or procedures when such modifications are necessary to afford
22
     goods, services, facilities, privileges, advantages, or accommodations to
23
     individuals with disabilities prevented people with mobility disabilities from
24
     enjoying fair and equal access to the Subject Property (defined below) in violation
25
     of the ADA [42 U.S.C. § 12182(b)(2)(A)(ii)].
26
                  5. Defendant, Cesar's Market, Inc., owns, operates, or leases
27

28                                           -2-
                                           COMPLAINT
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1
     real property located at 1050 N Sultana Ave., Ontario CA 91764, also known as

2    San Bernardino County Assessor’s Parcel No. 1048-091-01 (the “Subject
3    Property”).
4                  6. Defendant, Aldib Property, Inc., owns, operates, or leases
5    the Subject Property.
6                  7. Defendant, Kaisar Aldib, owns, operates, or leases the Subject
7
     Property.
8
                   8. The Subject Property is a commercial facility open to the general
9
     public, is a public accommodation, and is a business establishment insofar as
10
     goods and/or services are made available to the general public thereat. Defendant
11
     Does 1 through 10, inclusive, are sued herein under fictitious names. Their true
12
     names and capacities are unknown to the Plaintiff. When their true names and
13

14
     capacities are ascertained, Plaintiff will amend this complaint by inserting their

15   true names and capacities herein. Plaintiff is informed and believes and thereon
16   alleges that each of the fictitiously named Defendants are responsible in some
17   manner for the occurrences herein alleged, and that the harm to Plaintiff herein
18   alleged were proximately caused by those Defendants.
19

20                              JURISDICTION AND VENUE
21
                   9. This Court has jurisdiction over the subject matter of this action
22
     pursuant 28 U.S.C. § 1331and28 U.S.C. §§1343(a)(3) and 1343(a)(4) for violations
23
     of the ADA.
24
                   10. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
25
     based on the fact that the real property that is the subject of this action is located in
26
     this district and the Plaintiff’s causes of action arose in this district.
27

28                                             -3-
                                             COMPLAINT
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1
                                  STATEMENT OF FACTS

2                   11. Accessible aisles, paths of travel, signage, doorways, service
3    counters, customer areas and goods/services are among the facilities, privileges
4    and advantages offered by the Defendants to patrons of the Subject Property.
5                   12. The Subject Property does not comply with the minimum
6    requirements of the ADA and is therefore not equally accessible to persons with
7
     mobility disabilities.
8
                    13. In July, 2021 and continuously from that time to the present, and
9
     currently, the Subject Property has not been in compliance with the ADA (the
10
     “Barriers”):
11
                          A.     Accessible paths of travel serving the Subject Property
12
     contain changes in level greater than ½ inch (13mm) with no compliant curb cuts
13

14
     or curb ramps.

15                        B.     There were no accessible paths of travel from public
16   transportations stops, accessible parking, public streets and sidewalks to the
17   building entrances serving the Subject Property.
18                        C.     The paths of travel and turning radiuses serving the
19   interior of business locations at the Subject Property do not comply with the ADA
20   because they provide unreasonably narrow paths of travel and turning radiuses.
21
                          D.     The service counters, point of sale machines and/or self-
22
     serve equipment serving the Subject Property are not within an operable reach
23
     range.
24
                    14. Plaintiff personally encountered one or more of the Barriers
25
     at the Subject Property in July, 2021, including no path of travel from the public
26
     right of way and changes in level (steps) to the main entrance without ADA
27

28                                            -4-
                                            COMPLAINT
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1
     compliant vertical treatment. The barriers were located on the Subject Property in

2    the building approaches. The Subject Property also provides interior customer
3    aisles that are too narrow for wheelchair access, interior turning radiuses that are
4    too narrow for wheelchair access, a customer service / transaction counter that is
5    too high, stairs with no handrail, and an insecure carpet mat at the primary
6    entrance.
7
                  15. Between July, 2021 and the present, the Plaintiff had personal
8
     knowledge of the existence of Barriers at the Subject Property. The barriers
9
     effected Plaintiff with respect to his mobility disability because he had no way of
10
     entering the store due to the steps in front of the primary entrance on N. Sultana
11
     Ave.
12
                  16. The Subject Property is in an area Plaintiff frequents regularly for
13

14
     personal reasons. Recently, Plaintiff was in the area of the Subject Property in

15   August, 2021 for the purpose of running errands. On information and belief, there
16   are other barriers affecting Plaintiff’s disability at the Subject Property, and it is
17   Plaintiff’s intention to have the Subject Property inspected, to enforce that all
18   barriers related to Plaintiff’s disability are removed, and to return to the Subject
19   Property to confirm the work has been done. Until the barriers have been
20   removed, Plaintiff is deterred from attempting to use the Subject Property. The
21
     Subject Property is in an area Plaintiff frequents, and Plaintiff will return to the
22
     Subject Property multiple times within the next twelve months for the purpose of
23
     observing and confirming whether the barriers have been removed.
24
                  17. The existence of Barriers, the implementation of discriminatory
25

26

27

28                                             -5-
                                             COMPLAINT
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1
     policies, practices and procedures, and other ADA violations at the Subject

2    Property reasonably dissuaded or deterred Plaintiff from accessing the Subject
3    Property on a particular occasion between July, 2021 and the present.
4                 18. On information and belief, the remediation of violations
5    Identified hereinabove, to be identified by the Defendants in discovery, and to be
6    discovered by Plaintiff’s experts are all readily achievable in that the removal of
7
     them by the Defendants is and has been easily accomplishable without much
8
     difficulty or expense.
9
                  19. Defendants violated the ADA by failing to remove all mobility-
10
     related architectural barriers at the Subject Property. On information and belief,
11
     Plaintiff alleges that the failure to remove barriers has been knowing, willful and
12
     intentional because the barriers described herein are clearly visible and tend to be
13

14
     obvious even to a casual observer and because the Defendants operate the Subject

15   Property and have control over conditions thereat and as such they have, and have
16   had, the means and ability to make the necessary remediation of access barriers if
17   they had ever so intended.
18                20. On information and belief, access barriers at the Subject
19   Property are being consciously ignored by the Defendants; the Defendants have
20   knowingly disregarded the ongoing duty to remove the Barriers in compliance with
21
     the ADA. Plaintiff further alleges on information and belief that there are other
22
     ADA violations and unlawful architectural barriers at the Subject Property that
23
     relate to Plaintiff’s mobility disability that will be determined in discovery, the
24
     remediation of which is required under the ADA.
25
                  21. Plaintiff hereby seeks to remediate and remove all barriers
26

27

28                                            -6-
                                            COMPLAINT
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1
     related to his mobility disability, whether presently known or unknown and intends

2    to return to the Subject Property to observe and confirm whether access barriers
3    have been removed.
4                 22. Even if strictly compliant barrier removal were determined to
5    be structurally or otherwise impracticable, there are many alternative methods of
6    providing accommodations that are readily apparent and that could provide a
7
     greater degree of accessibility to the Plaintiff and similarly situated persons but for
8
     the Defendants’ discriminatory policies, practices and procedures and Defendants’
9
     conscious indifference to their legal obligations and to the rights of persons with
10
     mobility disabilities. Defendants’ failure to implement reasonable available
11
     alternative methods of providing access violates the ADA [42 U.S.C. §
12
     12182(b)(2)(A)(v)].
13

14
                  23. The violations and references to code sections herein are not

15   all-inclusive. Plaintiff will amend this complaint to provide a complete description
16   of the full scope of ADA violations after conducting a comprehensive expert site
17   inspection and other discovery. For the purposes of this Complaint, Plaintiff asserts
18   that the barriers alleged herein violate one or more of the ADA’s implementing
19   regulations. The Defendants have maintained and continue to maintain
20   discriminatory policies, procedures and practices that disregard their obligations
21
     under the ADA by allocating resources for physical improvements to the Subject
22
     Property that were did not provide legally required accessibility improvements, by
23
     failing to conduct ADA self-inspections or create ADA compliance plans
24
     regarding the Subject Property, by causing alterations to be made to the Subject
25
     Property in disregard of ADA requirements, and for failing and refusing to make
26
     necessary accommodations for persons with mobility disabilities at the Subject
27

28                                           -7-
                                           COMPLAINT
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1
     Property. Plaintiff seeks a declaration that the Defendants’ disability rights

2    compliance policies, procedures and practices are discriminatory and violate the
3    ADA.
4                              FIRST CAUSE OF ACTION
5
                              Discrimination Based on Disability
                                 [42 U.S.C. §§ 12101, et seq.]
6                             By Plaintiff against all Defendants
7

8                 24. Plaintiff re-alleges and incorporates by reference as though
9    fully set forth herein the allegations contained in all prior paragraphs of this
10   complaint.
11                25. The ADA obligates owners, operators, lessees and lessors of
12
     public accommodations to ensure that the privileges, advantages, accommodations,
13
     facilities, goods and services are offered fully and equally to persons with
14
     disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §
15
     12182(a)].
16
                  26. Discrimination is defined in the ADA, inter alia, as follows:
17
                         A.     A failure to remove architectural barriers where such
18

19
     removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
20   barriers are identified and described in the Americans with Disabilities Act
21   Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
22                       B.     A failure to make alterations in such a manner that, to the
23   maximum extent feasible, the altered portions of the facility are readily accessible
24   to and usable by individuals with disabilities, including individuals who use
25
     wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to
26
     the altered area and the bathrooms, telephones, and drinking fountains serving the
27

28                                            -8-
                                            COMPLAINT
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1
     altered area, are readily accessible to and usable by individuals with disabilities [42

2    U.S.C. § 12183(a)(2)].
3                        C.    Where an entity can demonstrate that the removal of a
4    barrier is not readily achievable, a failure to make such goods, services, facilities,
5    privileges, advantages, or accommodations available through alternative methods
6    if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
7
                         D.    A failure to make reasonable modifications in
8
     policies, practices, or procedures, when such modifications are necessary to afford
9
     such goods, services, facilities, privileges, advantages, or accommodations to
10
     individuals with disabilities, unless the entity can demonstrate that making such
11
     modifications would fundamentally alter the nature of such goods, services,
12
     facilities, privileges, advantages, or accommodations [42 U.S.C. §
13

14
     12182(b)(2)(A)(ii)].

15                27. The ADA, the ADAAG’s 1991 Standards (the “1991
16   Standards”) and 2010 Standards (the “2010 Standards”), and the California
17   Building Code (the “CBC”) contain minimum standards that constitute legal
18   requirements regarding wheelchair accessibility at places of public
19   accommodation:
20                       A.    Changes in levels along an accessible route greater
21   than 1/2 in (13 mm) require the provision of a curb ramp, ramp, elevator, or
22
     platform lift [1991 Standards § 4.3.8; 2010 Standards §§ 303.4, 405, and
23
     406].
24
                         B.    At least one accessible route must be provided from
25
     public transportation stops, accessible parking, and accessible passenger
26
     loading zones, and public streets or sidewalks to the accessible building
27
     entrance they serve. The accessible route must, to the maximum extent
28                                           -9-
                                           COMPLAINT
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 1
     feasible, coincide with the route for the general public, must connect

 2
     accessible buildings, facilities, elements, and spaces that are on the same
 3   site, and at least one accessible route must connect accessible building or
 4   facility entrances with all accessible spaces and elements and with all
 5   accessible dwelling units within the building or facility [1991 Standards
 6   §§4.1.2(1) and 4.3.2; 2010 Standards §§206 and 401].
 7                       C.     The minimum clear width of an accessible route is
 8   36 in (915 mm), except at where a person in a wheelchair must make a turn
 9   around an obstruction, in which case the minimum clear width of the
10   accessible route is set forth in Figures 7(a) and 7(b) [1991 Standards § 4.3].
11                       D.     In public accommodations where counters have cash
12
     registers or are provided for sales or distribution of goods or services to the public,
13
     at least one of each type of counter must have a portion that is at least 36 in
14
     (915mm) in length with a maximum height of 36 in (915 mm) above the finished
15
     floor. The checkout counter surface height can be no more than 38 inches
16
     maximum above the finished floor or ground. The top of the counter edge
17
     protection can be up to 2 inches above the top of the counter surface on the
18
     aisle side of the checkout counter. Clear floor space that allows a forward
19

20
     or parallel approach by a person using a wheelchair must be provided at

21
     controls, dispensers, receptacles and other operable equipment [1991

22   Standards §§ 7.1(1), 7.2, 4.27.2; 2010 Standards §§ 309.2, 902.3, 904.3.2 and
23   904.3.3].
24                28.    The Defendants have failed to comply with minimum
25   ADA standards and have discriminated against persons with mobility
26   disabilities on the basis of thereof. Each of the barriers and accessibility
27   violations set forth above is readily achievable to remove, is the result of an
28                                            -10-
                                            COMPLAINT
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 1
     alteration that was completed without meeting minimum ADA standards,

 2
     or could be easily remediated by implementation of one or more available
 3   alternative accommodations. Accordingly, the Defendants have violated the
 4   ADA.
 5               29.    The Defendants are obligated to maintain in operable
 6   working condition those features of the Subject Property’s facilities and
 7   equipment that are required to be readily accessible to and usable by
 8   Plaintiff and similarly situated persons with disabilities [28 C.F.R. §
 9   36.211(a)]. The Defendants failure to ensure that accessible facilities at the
10   Subject Property were available and ready to be used by the Plaintiff
11   violates the ADA.
12               30.    The Defendants have a duty to remove architectural
13   barriers where readily achievable, to make alterations that are consistent
14
     with minimum ADA standards and to provide alternative accommodations
15
     where necessary to provide wheelchair access. The Defendants benign
16
     neglect of these duties, together with their general apathy and indifference
17
     towards persons with disabilities, violates the ADA.
18
                 31.    The Defendants have an obligation to maintain policies,
19
     practices and procedures that do not discriminate against the Plaintiff and
20
     similarly situated persons with mobility disabilities on the basis of their
21
     disabilities. The Defendants have maintained and continue to maintain a policy of
22
     disregarding their obligations under the ADA, of allocating resources for
23

24
     improvements insufficient to satisfy legal requirements regarding accessibility

25   improvements, of failing to conduct ADA self-inspections or create ADA
26   compliance plans, of causing alterations to be made to the Subject Property in
27   disregard of ADA requirements, and of failing and refusing to make necessary
28                                          -11-
                                          COMPLAINT
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 1
     accommodations for persons with mobility disabilities at the Subject Property, in

 2   violation of the ADA.
 3                32.   The Defendants wrongful conduct is continuing in that
 4   Defendants continue to deny full, fair and equal access to their business
 5   establishment and full, fair and equal accommodations, advantages,
 6   facilities, privileges and services to Plaintiff as a disabled person due to
 7   Plaintiff’s disability. The foregoing conduct constitutes unlawful
 8   discrimination against the Plaintiff and other mobility disabled persons
 9   who, like the Plaintiff, will benefit from an order that the Defendants
10   remove barriers and improve access by complying with minimum ADA
11   standards.
12

13
                                PRAYER FOR RELIEF
14
           Plaintiff prays to this Court for injunctive, declaratory and all other
15
     appropriate relief under the ADA , including but not limited to reasonable
16
     attorney’s fees, litigation expenses and costs of suit pursuant to 42 U.S.C. §
17
     12205.
18
           Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
19         not seek injunctive relief under the Unruh Act or Disabled Persons
20         Act at all by way of this action.
21   Respectfully submitted,
22
     Dated: 09/08/2021               LAW OFFICES OF ROSS CORNELL, APC
23

24

25
                                     By: /s/ Ross Cornell
                                         Ross Cornell, Esq.,
26                                       Attorneys for Plaintiff,
27                                       Bryan Estrada
28                                          -12-
                                          COMPLAINT
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